      Case 3:20-cv-02731-VC Document 183 Filed 05/16/20 Page 1 of 2




                           UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA


ANGEL DE JESUS ZEPEDA RIVAS, et                 Case No. 20-cv-02731-VC
al.,
             Plaintiffs,                        BAIL ORDER NO. 10
       v.                                       Re: Dkt. No. 154, 164

DAVID JENNINGS, et al.,
             Defendants.

    The bail requests from the following detainees are denied without prejudice:
       •    Raleigh Figueras
       •    Edgar Ismael Rodriguez Rojas
       •    Francisco Antonio Mendoza Canales
       •    Luis Erasmo Castro Ramos
       •    Oscar Humberto Perrusquia Palomares
    The bail requests from the following detainees are deferred:
       •    Alex Rivera-Giorges
       •    Hung Tien Nguyen
    The bail requests from the following detainees are granted:
       •    Edgar Mejia
       •    Gilberto Pablo Perez
       •    Maria Andres Salgado
       •    Mariano Aguilar Domingo
       •    Wildson Tol-Morales
          Case 3:20-cv-02731-VC Document 183 Filed 05/16/20 Page 2 of 2




           •   Bhutta Mohammad Abbas
Bail for these detainees is subject to the standard conditions of release stated at Dkt. 108. Mr.

Pablo Perez’s bail is subject to the further conditions that (1) he is prohibited from consuming

alcoholic beverages and (2) he is prohibited from driving.



       IT IS SO ORDERED.

Dated: May 16, 2020
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




                                                  2
